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                     Exhibit
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                                                                      1180 N. Town Center Drive, Ste. 100
                                                                                   Las Vegas, NV 89144



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                                          January 22, 2021
                          VIA E-MAIL ONLY (mcavanagh@mcdonaldhopkins.com)

   Matthew Cavanagh, Esq.
   McDonald Hopkins LLC
   600 Superior Avenue East, Suite 2100
   Cleveland, OH 44114

            Re:      Spectrum Laboratories LLC – Synthetic Urine Patents
                     Our Reference No.: AIMHIGH.0022L

  Dear Mr. Cavanaugh,

          This letter is in response to your correspondence dated January 8, 2021, written on behalf of
  your client, Spectrum Laboratories, LLC (“Spectrum”), and which purports to provide evidence of a
  laboratory test of the laboratory-made urine product named XStream marketed and sold by Aim High
  Investment Group, LLC (“Aim High”) and purportedly showing the presence of biocides in the
  XStream product.

          While our client appreciates the disclosure of this information (and will treat it both
  confidentially and under FRE 408 as provided for in your letter), our client has serious questions about
  the validity and accuracy of the tests results reflected therein.

         According to your letter and the attached report, you claim that the XStream product
  purportedly tested positive for methylisothiazolinone and chloromethylisothiazolinone, which you
  represent as biocides falling within the scope of Spectrum’s patents (a representation we do not
  necessarily accept as true but defer on that issue for another day).

           However, based on our client’s knowledge of its proprietary product formula and the
  chemicals/ingredients that go into the XStream product, it is frankly not possible that such compounds
  would be present and therefore, Aim High strongly questions both the authenticity and the chain of
  custody for the samples tested and believes that the samples tested by the laboratory were either not
  authentic product samples (the report provides no indication of the product lot numbers tested to verify
  their authenticity) or, even if they were authentic samples of the XStream product, then such samples
  were contaminated (and quite possibly intentionally so) before testing (the report provides no
  indication regarding the condition of the samples received and tested and whether they were still in
  their original sealed container).

          Aim High’s supplier has expressly confirmed that no biocides are present in the
  chemicals/ingredients used in the XStream product. Moreover, Aim High has reviewed the MSDS
  sheets for those chemicals/ingredients used in the XStream product which have such sheets and none
  show the presence of the compounds that your lab test supposedly identified as present.



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Matthew Cavanagh, Esq.
McDonald Hopkins LLC
January 22, 2021

         We strongly suggest that your client conduct additional testing on the XStream product under
circumstance where authenticity and chain of custody are rigidly documented and controlled (product
lot number, confirmation of seal prior to testing) in order to ensure that no contamination occurs and
so that the test results can be trusted as accurate. Aim High is quite confident that when such measures
are taken, your client’s lab testing will show no biocides present, and certain not the ones noted on the
lab report you provided.

        Indeed, as a show of good faith and confidence in our client’s position, Aim High is even
willing to send, on an ongoing and continuous basis, samples of its XStream product from each batch
ordered directly to a mutually agreeable, neutral third-party lab so that your client can have such
samples tested on a regular basis to verify that no biocides are present (naturally, your client would be
responsible for all lab testing fees along with all costs for Aim High to ship the product to directly to
the agreed-upon neutral lab testing facility).

         And while we appreciate your willingness to “agree” to maintain our client’s highly sensitive
trade secret information as “Attorneys’ Eyes Only,” our client is understandably unwilling to disclose
its trade secret formula absent a formal Protective Order or some other formal express Non-Disclosure
Agreement with your firm and specifically you (along with any other individual attorneys who may be
privy to such information).

        Nothing contained in or omitted from this letter is or shall be deemed to be either a full
statement of the facts or applicable law, an admission of any fact, or a waiver or limitation of any of
our client’s rights or remedies, equitable or otherwise, all of which are specifically retained and
reserved.

        If you have any questions or wish to discuss any of the above in greater detail, please feel free
to contact us.

                                                        Very truly yours,



                                                        Ryan Gile




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